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  8                          CENTRAL DISTRICT OF CALIFORNIA

  9
       BRIAN WHITAKER,                                   Case: 2:20-cv-07877-MWF-PD
 10
                Plaintiff,                               Plaintiff’s Notice of Voluntary
         v.
 11                                                      Dismissal With Prejudice
 12    J PETERSON PROPERTY, LLC, a
       California Limited Liability                      Fed. R. Civ. P. 41(a)(1)(A)(i)
 13    Company;
       PETERSON ENTERPRISES, LLC, a
 14    California Limited Liability
       Company; and Does 1-10,
 15
                Defendants.
 16
 17           PLEASE TAKE NOTICE that Plaintiff Brian Whitaker, hereby

 18   voluntarily dismisses the above captioned action with prejudice pursuant to

 19   Federal Rule of Civil Procedure 41(a)(1)(A)(i).

 20           Defendants J Peterson Property, LLC, a California Limited Liability

 21   Company and Peterson Enterprises, LLC, a California Limited Liability

 22   Company have neither answered Plaintiff’s Complaint, nor filed a motion for

 23   summary judgment. Accordingly, this matter may be dismissed without an

 24   Order of the Court.
      Dated: November 4, 2020                CENTER FOR DISABILITY ACCESS
 25
 26
                                             By: /s/ Amanda Seabock
 27
                                             Amanda Seabock
 28                                          Attorney for Plaintiff


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                    Plaintiff’s Notice of Voluntary Dismissal With Prejudice Pursuant to
                                 Federal Rule of Civil Procedure 41(a)(1)(A)(i)
